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                  IN THE UNITED STATES BANKRUPTCY COURT
                   FOR THE NORTHERN DISTRICT OF GEORGIA
                               ATLANTA DIVISION
 ____________________________________
 In re:                               )
                                      )
 NEXXLINX CORPORATION, INC.,          )        Chapter 7
        et al.                        )
                                      )
        Debtors.                      )        Case No. 16-61225-PMB
                                      )        Jointly Administered Cases
                                      )
                                      )        Contested Matter
 ____________________________________)

                                      NOTICE OF HEARING

         PLEASE TAKE NOTICE that Level 3 Communications, LLC has filed a Motion for

 Allowance and Payment of Its Administrative Expense Claim Pursuant to 11 U.S.C. §

 503(b)(1)(A) [ECF 476] and related papers with the Court seeking an order for allowance and

 payment of Level 3’s administrative expense claim. The Trustee filed an Objection to Level 3

 Communications, LLC’s Motion for Allowance and Payment of its Administrative Expense

 Claim Pursuant to 11 U.S.C. § 503(b)(1)(A) [ECF 504].

         PLEASE TAKE FURTHER NOTICE that the Court will hold a hearing on the

 Administrative Claim Motion in Courtroom 1202, United States Courthouse, 75 Ted Turner

 Drive, SW, Atlanta, Georgia, at 2:00 p.m. on October 22, 2018.

         Your rights may be affected by the court’s ruling on these pleadings. You should read

 these pleadings carefully and discuss them with your attorney, if you have one in this bankruptcy

 case. (If you do not have an attorney, you may wish to consult one.) If you do not want the court

 to grant the relief sought in these pleadings or if you want the court to consider your views, then

 you and/or your attorney must attend the hearing. You may also file a written response to the

 pleading with the Clerk at the address stated below, but you are not required to do so. If you file


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 a written response, you must attach a certificate stating when, how and on whom (including

 addresses) you served the response. Mail or deliver your response so that it is received by the

 Clerk at least two business days before the hearing. The address of the Clerk's Office is Clerk, U.

 S. Bankruptcy Court, Suite 1340, 75 Ted Turner Drive, Atlanta Georgia 30303. You must also

 mail a copy of your response to the undersigned at the address stated below.

          This 13th day of July, 2018.

                                                   Respectfully submitted,

                                                   SWIFT, CURRIE, McGHEE & HIERS, LLP


                                                   By:    /s/ Bradley S. Wolff
                                                          Bradley S. Wolff
                                                          Georgia Bar No. 773388

 The Peachtree, Suite 300
 1355 Peachtree Street, N.E.
 Atlanta, GA 30309-3231
 (404) 874-8800
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 brad.wolff@swiftcurrie.com

 -and-

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 ATTORNEYS FOR LEVEL 3 COMMUNICATIONS, LLC




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                                  CERTIFICATE OF SERVICE

         I, the undersigned, hereby certify under penalty of perjury that I am, and at all times

     hereinafter mentioned, was more than 18 years of age, and that on the 13th day of July, 2018,

     I served a copy of Notice of Hearing on Level 3 Communications, LLC’s Motion for

     Allowance and Payment of its Administrative Expense Claim, which was filed in this

     bankruptcy matter on the 13th day of July, 2018.

         The following parties were served through the court’s electronic filing system:

        NexxLinx Corporation, Inc. and its affiliated Debtor entities, 3565 Piedmont Road, NE,
         Building 2, Suite 104, Atlanta, GA 30305 c/o Roberto Bazzani, Scroggins & Williamson,
         P.C., One Riverside, 4401 Northside Parkway, Suite 450, Atlanta, GA 30327;

        Tamara Miles Ogier, Ogier, Rothschild & Rosenfeld PC, P.O. Box 1547, Decatur, GA
         30031;

        Guy G. Gebhardt, 362 Richard Russell Bldg., 75 Spring Street, Atlanta, GA 30303; and

        Official Committee of Unsecured Creditors, c/o Mark I. Duedall, 1201 West Peachtree
         Street, Bryan Cave LLP, 14th Floor, Atlanta, GA 30309.

     I CERTIFY UNDER PENALTY OF PERJURY THAT THE FOREGOING IS TRUE AND
     CORRECT.

                                              Respectfully submitted,

                                              SWIFT, CURRIE, McGHEE & HIERS, LLP


                                              By:       /s/ Bradley S. Wolff
                                                        Bradley S. Wolff
                                                        Georgia Bar No. 773388
                                                        Attorney for Level 3 Communications, LLC

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